
		
				IN THE MATTER OF THE REINSTATEMENT OF LUCERO2025 OK 24Case Number: SCBD-7714Decided: 04/07/2025THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2025 OK 24, __ P.3d __

				


IN THE MATTER OF THE REINSTATEMENT OF SHANNON OTTESON LUCERO



ORDER



¶1 On February 10, 2020, the petitioner, Shannon Otteson Lucero, elected to change her status with the Oklahoma Bar Association from Active Member to Retired Member. 

¶2 A hearing was held before the Professional Responsibility Tribunal on October 30, 2024. After taking the testimony of witnesses and reviewing the submission of joint exhibits, the panel recommended that Lucero be reinstated to Active Member status. Upon consideration of the matter, we find:

1) The attorney has met all the procedural requirements necessary for reinstatement in the Oklahoma Bar Association as set out in Rules 11, Rules Governing Disciplinary Proceedings, 5 O.S. 2021, ch.1, app. 1-A. 

2) The attorney has established, by clear and convincing evidence, that she has not engaged in the unauthorized practice of law in the State of Oklahoma or any other state.

3) The attorney has established, by clear and convincing evidence, that she possesses the competency and learning in the law required for reinstatement to the Oklahoma Bar Association.

4) The attorney has established, by clear and convincing evidence, that she possesses the good moral character which would entitle her to be reinstated to the Oklahoma Bar Association.

¶3 IT IS THEREFORE ORDERED that the petition of Shannon Otteson Lucero for reinstatement to the Oklahoma Bar Association should be granted.

¶4 According to the Application to Assess Costs, the OBA expended a total of $1,109.23 during the handling of this reinstatement proceeding. After reviewing the application, the Court finds the same should be approved and Petitioner Lucero is ordered to pay the sum of $1,019.23. It is noted that on January 23, 2025, the OBA filed its receipt acknowledging payment of the costs in full.

¶5 IT IS FURTHER ORDERED that Lucero shall pay her 2024 and 2025 Bar Association dues within thirty (30) days of the date of this order. Reinstatement is conditional upon the attorney's payment of these dues.

¶6 IT IS FURTHER ORDERED that Petitioner is required to complete accredited continuing legal education each calendar year and report the same in compliance with Rules for Mandatory Continuing Legal Education, 5 O.S.2021, Ch. 1, App. 1-B. 

¶7 DONE BY ORDER OF THE SUPREME COURT THE 7th DAY OF April, 2025.


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; _____________________________
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; /s/CHIEF JUSTICE


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FOOTNOTES










2014 OK 26








